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                                                 Summary by Activity
Motion to Compel                                                                      Hours Billed   Fees
 Conference Efforts in Preparation for Motion to Compel                               19              $ 12,234.00
 Preparing Motion to Compel                                                           38.9            $ 21,670.50
 Replying to Response to Motion to Compel                                             23.9            $ 13,854.50
 Replying to Amended Response to Motion to Compel                                     48.3            $ 28,186.50
 Responding to Motion for Leave to File Surreply                                      12.7            $ 7,206.50
 Additional Conference and Other Efforts Related to Motion to Compel                  19              $ 12,418.00
 Preparing for and Attending Hearing on Motion to Compel                              17.8            $ 10,260.00
 Responding to Emergency Motion to Amend Compel Order                                 16.4            $ 10,165.00
                                                                           Subtotal   196             $ 115,995.00

Motion for Sanctions                                                                  Hours Billed   Fees
 Preparing Advisories and Related Conference Efforts                                  65.4            $ 39,283.50
 Preparing Motion for Sanctions                                                       45              $ 26,650.00
 Conference and Other Efforts Related to Motion for Sanctions                         6.8             $ 4,631.00
 Replying to Response to Motion for Sanctions                                         36.7            $ 22,030.50
 Preparing for and Attending Evidentiary Hearing on Motion for Sanctions              169.5           $ 97,823.00
                                                                           Subtotal   323.4           $ 190,418.00

Forensic Work                                                                         Hours Billed   Fees
 Forensic Related Attorney Work                                                       11.6            $ 7,789.00
                                                                           Subtotal   11.6            $ 7,789.00

                                                           Attorneys' Fees Total      531            $ 314,202.00

Forensic Costs                                                                        Hours Billed   Fees
 R3 Digital Forensics Invoices                                                        74              $ 23,810.00
                                                            Forensic Costs Total      74              $ 23,810.00

                                                                    Grand Total       605            $ 338,012.00




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                      Summary of Attorneys' Fees by Time Keeper
Time Keeper            Title                      Rate           Hours Billed        Fee
Adam H. Sencenbaugh    Partner                     $      725.00            192.8     $ 139,780.00
Iris Gibson            Counsel                     $      700.00             38.1     $ 26,670.00
Henson Adams           Associate                   $      495.00            276.7     $ 136,966.50
Chrissy Long           Associate                   $      495.00             17.9     $ 8,860.50
Mike Brockwell         Trial Services Consultant   $      350.00               5.5    $ 1,925.00
                                                     Grand Total              531     $ 314,202.00




                                                        Exhibit A                                    Page 2
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                         Motion to Compel: Conference Efforts in Preparation for Motion to Compel
DATE         TIME KEEPER           DESCRIPTION                              TIME        RATE        FEE         ACTIVITY

                                     Telephone conference with client
                                     representatives regarding Defendants'
                                     response to discovery requests; begin
                                     draft of correspondence to opposing
                                     counsel regarding deficiencies in
                                     document production and discovery
                                     responses; email correspondence with
                                     client representatives regarding case
11/27/2019   Adam H Sencenbaugh      status.                                     3.4   $725.00      $2,465.00   C.1
                                     Analyze discovery responses from
                                     opposing counsel to draft
                                     correspondence regarding discovery
                                     deficiencies; outline legal issues relevant
                                     to discovery dispute and motion to
11/29/2019   Adam H Sencenbaugh      compel.                                     2.8   $725.00      $2,030.00   C.1

                                     Draft and revise discovery deficiency
                                     letter to opposing counsel; review
                                     discovery responses regarding the same;
                                     research federal law regarding
                                     general objections. [REDUCED BY 3.0
11/30/2019   Henson Adams            HOURS]                                  3.3       $495.00      $1,633.50   C.1

                                     Revise correspondence to opposing
                                     counsel regarding discovery deficiencies
                                     and Motion to Compel; analyze legal
                                     issues relevant to
11/30/2019   Adam H Sencenbaugh      discovery dispute and Motion to Compel. 3         $725.00      $2,175.00   C.1




                                                              Exhibit A                                                    Page 3
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                                  Continue to draft and revise letter to
                                  opposing counsel regarding discovery
                                  deficiencies; review client comments to
                                  the same; review and analyze
                                  Defendants' Discovery Responses with
                                  respect to deficiencies and objections.
12/3/2019   Henson Adams          [REDUCED BY 3.0 HOURS]                     1.2   $495.00   $     594.00 C.1

                                  Email correspondence with client
                                  representatives regarding case status;
                                  revise correspondence to opposing
12/3/2019   Adam H. Sencenbaugh   counsel regarding discovery deficiencies. 1.3    $725.00   $     942.50 C.1

                                  Revise and finalize Discovery Deficiency
                                  Letter; review and analyze discovery
12/4/2019   Henson Adams          responses regarding the same.              2.2   $495.00   $    1,089.00 C.1
                                  Revise and transmit correspondence to
                                  opposing counsel regarding failure to
                                  respond to outstanding discovery
12/4/2019   Adam H. Sencenbaugh   requests.                                  1.8   $725.00   $    1,305.00 C.1
                                                                  Subtotal   19              $   12,234.00




                                                          Exhibit A                                              Page 4
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                                   Motion to Compel: Preparing Motion to Compel
DATE         TIME KEEPER        DESCRIPTION                                 TIME        RATE      FEE            ACTIVITY


                                Correspondence with client regarding Discovery
                                Deficiency Letter; begin draft of Motion to
                                Compel regarding discovery deficiencies by
                                Defendants; research and analyze Federal Rules
                                of Civil Procedure on Motions to Compel
                                discovery and federal case law regarding the
12/5/2019    Henson Adams       same.                                          4.9      $495.00   $     2,425.50 C.2


                                Telephone call with forensic examiner to
                                discuss the protocol for collecting electronic
                                devices and to discuss past forensic findings and
                                analysis for use in Motion to Compel; continue
                                to draft Motion to Compel; analyze case
                                documents, past correspondence with opposing
                                counsel, and
                                forensic reports with respect to preparation of
12/9/2019    Henson Adams       Motion to Compel.                                 6.4   $495.00   $     3,168.00 C.2
                                Prepare template for appendix to Motion to
12/10/2019   Henson Adams       Compel.                                           0.4   $495.00   $      198.00 C.2


                                Continue to draft Motion to Compel; analyze
                                electronic data, past correspondence with
                                opposing counsel, and forensic reports with
                                respect to preparation of Motion to Compel;
                                prepare exhibits and supporting documents for
                                Motion to Compel, including drafting and
12/11/2019   Henson Adams       revising declarations.                        6.6       $495.00   $     3,267.00 C.2


                                                             Exhibit A                                                      Page 5
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                                   Continue to draft and revise Motion to Compel;
                                   prepare additional exhibits for Motion to
12/12/2019   Henson Adams          Compel.                                        2.5        $495.00   $   1,237.50 C.2

12/13/2019   Henson Adams          Continue to draft and revise Motion to Compel. 0.4        $495.00   $    198.00 C.2

                                   Draft and revise declaration of Tim Lavin and
                                   Adam Sencenbaugh in support of Motion to
                                   Compel; draft proposed order granting Motion
                                   to Compel; revise Motion to Compel and
                                   continue to gather and prepare exhibits
12/15/2019   Henson Adams          regarding the same. [REDUCED BY 2.0 HOURS] 2.9            $495.00   $   1,435.50 C.2
                                   Revise Motion to Compel documents and
                                   interrogatory responses from Defendants;
                                   revise Declaration of Tim Lavin in support of
                                   Motion to
                                   Compel; revise Appendix of arguments in
12/15/2019   Adam H. Sencenbaugh   support of Motion to Compel.                  4.6         $725.00   $   3,335.00 C.2




                                   Revise and finalize Motion to Compel; gather,
                                   prepare, and finalize exhibits to the same,
                                   including Declarations of Tim Lavin and Adam
                                   Sencenbaugh, exhibits, past correspondence
                                   with opposing counsel, forensics reports, and
                                   proposed order; discuss Motion to Compel and
                                   exhibits with client; strategize regarding
                                   presentation of Motion to Compel issues,
                                   including timeline of events, in the hearing with
12/16/2019   Henson Adams          the Court. [REDUCED BY 2.0 HOURS]                 4.3     $495.00   $   2,128.50 C.2
                                   Review and revise Lavin Declaration in Support
12/16/2019   Iris Gibson           of Motion to Compel.                              [0.9]   N/A       No Charge    C.2




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                                   Revise Motion to Compel discovery responses;
                                   revise Declaration of Tim Lavin in Support of
                                   Motion to Compel; revise Declaration of Adam
                                   Sencenbaugh in Support of Motion to Compel;
                                   revise Proposed Order in Support of Motion to
                                   Compel; email correspondence with client
12/16/2019   Adam H. Sencenbaugh   representatives regarding Motion to Compel.    5.9    $725.00   $ 4,277.50 C.2
                                                                         Subtotal 38.9             $ 21,670.50




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                                   Motion to Compel: Replying to Response to Motion to Compel
DATE         TIME KEEPER            DESCRIPTION                                  TIME     RATE      FEE            ACTIVITY
                                    Begin to prepare reply briefing on Motion to
                                    Compel; research federal law regarding
12/17/2019   Henson Adams           sanctions.                                   1.8      $495.00   $      891.00 C.3

                                     Review and analyze Defendants' Response to
                                     Motion to Compel, including reading and
                                     analyzing case law cited in the same;
                                     continue to draft and revise BalanceCXI's
12/23/2019   Henson Adams            Reply to the same.                            3     $495.00    $     1,485.00 C.3
                                     Analyze Response to Motion to Compel filed
                                     by opposing party in case; email
                                     correspondence and telephone conference
                                     with client representatives regarding
                                     Response to Motion to Compel and case
12/23/2019   Adam H. Sencenbaugh     strategy.                                     1.9   $725.00    $     1,377.50 C.3
                                     Continue to review and analyze Defendants'
                                     Response to Motion to Compel; continue to
                                     draft and revise BalanceCXI's Reply to the
12/24/2019   Henson Adams            same.                                         1.2   $495.00    $      594.00 C.3
                                     Continue to review and analyze Defendants'
                                     Response to Motion to Compel; continue to
                                     draft and revise BalanceCXI's Reply to the
                                     same;
                                     gather and prepare exhibits, including
                                     declaration of Henson Adams, to support the
12/26/2019   Henson Adams            reply.                                        3.6   $495.00    $     1,782.00 C.3




                                                               Exhibit A                                                      Page 8
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                                   Revise Reply in Support of Motion to Compel
                                   production of documents and interrogatory
                                   responses; email correspondence with client
                                   representatives regarding Reply in Support of
12/26/2019   Adam H. Sencenbaugh   Motion to Compel.                             3.8    $725.00   $   2,755.00 C.3
                                   Revise and finalize draft of reply to send to
12/27/2019   Henson Adams          client for review.                            1.1    $495.00   $    544.50 C.3

                                   Revise declarations and exhibits in support of
                                   Reply for Motion to Compel production of
12/27/2019   Adam H. Sencenbaugh   documents and interrogatory responses.         0.8   $725.00   $    580.00 C.3
                                   Revise and finalize BalanceCXI's Reply to
                                   Defendants' Response to BalanceCXI's
                                   Motion to Compel; finalize and marshal
                                   exhibits to the
                                   same; finalize Declaration of Henson Adams
                                   in support of Reply; correspondence with
                                   opposing counsel to send courtesy copy of
12/30/2019   Henson Adams          filed Reply.                                   4.4   $495.00   $   2,178.00 C.3

                                   Revise and file Reply in Support of Motion to
                                   Compel production of documents and
12/30/2019   Adam H. Sencenbaugh   interrogatory responses.                      2.3    $725.00   $ 1,667.50 C.3
                                                                       Subtotal 23.9              $ 13,854.50




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                            Motion to Compel: Replying to Amended Response to Motion to Compel
DATE        TIME KEEPER            DESCRIPTION                                TIME       RATE     FEE            ACTIVITY

                                   Review Defendants' Motion to Seal, Motion
                                   for Leave to Amend Response to Motion to
                                   Compel, Motion to Exceed Page Limits, and
                                   corresponding exhibits, including the
                                   Declaration of Mr. O'Brien; discuss and
1/22/2020   Henson Adams           strategize the same with client.              1.3    $495.00   $      643.50 C.4

                                   Telephone conference with client
                                   representatives regarding filings by opposing
                                   party on Motion to Compel; analyze filings by
                                   opposing party related to Motion for Leave in
                                   opposition to Motion to Compel and
                                   arguments regarding discovery on Motion to
                                   Compel; outline issues relevant to response to
                                   Motion for Leave in opposition to Motion to
1/22/2020   Adam H. Sencenbaugh    Compel.                                        2.7   $725.00   $     1,957.50 C.4
                                   Continue draft of Response to Motion for
                                   Leave in opposition to Motion to Compel;
                                   email correspondence with client
                                   representatives regarding
                                   Response to Motion for Leave in opposition to
1/24/2020   Adam H. Sencenbaugh    Motion to Compel.                              1.8   $725.00   $     1,305.00 C.4

                                   Begin draft of Declaration in Support of
                                   Response to Motion for Leave in opposition to
                                   Motion to Compel; review documents
                                   produced by Defendants in response to
                                   Motion to Compel; begin draft of Motion for
1/26/2020   Henson Adams           Leave to file under seal.                     2.5    $495.00   $     1,237.50 C.4




                                                               Exhibit A                                                    Page 10
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                                  Email correspondence with opposing counsel
                                  regarding Motion for Leave in opposition to
                                  Motion to Compel; revise Response to Motion
                                  for Leave in opposition to Motion to Compel;
                                  email correspondence with opposing counsel
1/27/2020   Adam H. Sencenbaugh   regarding issues relevant to Motion for Leave. 4.2   $725.00   $   3,045.00 C.4

                                  Revise and file Response to Motion for Leave
                                  in opposition to Motion to Compel; email
                                  correspondence with opposing counsel
                                  regarding issues relevant to Motion for Leave
1/28/2020   Adam H. Sencenbaugh   in opposition to Motion to Compel.            3.5    $725.00   $   2,537.50 C.4

                                  Review and analyze Defendants' Amended
                                  Response to Motion to Compel; research
                                  federal law regarding arguments Defendants
                                  make in the same; begin to draft Reply to
1/29/2020   Henson Adams          Amended Response to Motion to Compel.         4.3    $495.00   $   2,128.50 C.4

                                  Draft Plaintiff's Reply to Defendants' Amended
                                  Response to Motion to Compel; review and
                                  analyze Amended Response to Motion to
                                  Compel with respect to the same; research
                                  federal law regarding issues relevant to
2/3/2020    Henson Adams          Motion to Compel.                              8.7   $495.00   $   4,306.50 C.4
                                  Draft and revise Plaintiff's Reply to
                                  Defendants' Amended Response to Motion to
                                  Compel; draft and revise Appendix in support
2/4/2020    Henson Adams          of the same.                                   7.4   $495.00   $   3,663.00 C.4
                                  Outline issues and revise arguments relevant
                                  to Reply to Amended Response to Motion to
2/4/2020    Adam H. Sencenbaugh   Compel.                                        1.9   $725.00   $   1,377.50 C.4


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                                 Continue to draft and revise Reply to
                                 Defendants' Amended Response to Motion to
                                 Compel; draft motion for leave to exceed page
                                 limits with respect to the same; continue to
                                 draft and revise appendix in support of the
2/5/2020   Henson Adams          Reply in support of Motion to Compel.         3.6    $495.00   $   1,782.00 C.4
                                 Review, revise, and finalize Reply to
                                 Defendants' Amended Response to Motion to
                                 Compel, Motion for Leave to Exceed Page
                                 Limits, and proposed order regarding the
2/6/2020   Henson Adams          same.                                         1.9    $495.00   $    940.50 C.4

                                 Revise Reply to Amended Response to Motion
                                 to Compel, including exhibits and argument in
                                 support of Reply to Amended Response to
2/6/2020   Adam H. Sencenbaugh   Motion to Compel.                             4.5    $725.00   $ 3,262.50 C.4
                                                                      Subtotal 48.3             $ 28,186.50




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                            Motion to Compel: Responding to Motion for Leave to File Surreply
DATE        TIME KEEPER               DESCRIPTION                             TIME        RATE      FEE            ACTIVITY
                                      Review and prepare correspondence with
                                      opposing counsel regarding Defendants
                                      request to file a Surreply to Motion to
1/2/2020    Henson Adams              Compel.                                 1.2         $495.00   $      594.00 C.5

                                      Review and analyze Defendants' Motion
                                      for Leave to File Surreply in opposition to
                                      Motion to Compel and Defendants'
                                      Surreply to BalanceCXI Reply in opposition
                                      to Motion to Compel; discuss and
2/14/2020   Henson Adams              strategize response.                        1.8    $495.00    $      891.00 C.5
                                      Telephone conference with client
                                      representatives regarding case status and
                                      outstanding discovery issues relevant to
2/14/2020   Adam H. Sencenbaugh       Motion to Compel.                           0.9    $725.00    $      652.50 C.5


                                      Draft and revise response to Defendants'
                                      Motion for Leave to File Surreply in
                                      opposition to Motion to Compel; review
                                      and analyze case law cited in Defendants'
                                      Surreply in opposition to Motion to
                                      Compel; research federal law regarding
                                      electronic service issue relevant to Motion
2/15/2020   Henson Adams              to Compel and Defendants' Surreply.         3.6    $495.00    $     1,782.00 C.5
                                      Analyze Motion for Leave to File Surreply
                                      in opposition to Motion to Compel filed by
                                      Defendants; continue draft of Plaintiff's
                                      Response to Motion for Leave to File
                                      Surreply in opposition to Motion to
2/15/2020   Adam H. Sencenbaugh       Compel.                                     1.7    $725.00    $     1,232.50 C.5


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                                   Revise Plaintiff's Response to Motion for
                                   Leave to File Surreply in opposition to
2/17/2020   Henson Adams           Motion to Compel.                           0.6   $495.00   $    297.00 C.5

                                   Analyze legal issues relevant to Reply in
                                   Support of Motion for Leave to File
                                   Surreply in opposition to Motion to
                                   Compel; revise correspondence to
                                   opposing counsel regarding missing
                                   devices under discovery protocol and
2/20/2020   Adam H. Sencenbaugh    Motion to Compel.                           1.4   $725.00   $   1,015.00 C.5

                                   Draft and revise letter to opposing counsel
                                   regarding Defendants' production of
                                   confidential information and additional
                                   devices identified relevant to Motion to
2/21/2020   Henson Adams           Compel and device protocol.                 1.5   $495.00   $     742.50 C.5
                                                                    Subtotal 12.7              $   7,206.50




                                                           Exhibit A                                              Page 14
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                    Motion to Compel: Additional Conference and Other Efforts Related to Motion to Compel
DATE         TIME KEEPER             DESCRIPTION                                   TIME       RATE        FEE            ACTIVITY

                                       Email correspondence with opposing counsel
                                       regarding discovery issues relevant to case;
                                       telephone conference with client
                                       representatives regarding issues relevant to
                                       case; revise Rule 29 Device Protocol for use in
                                       case for production of hard drives and in
                                       support of Motion to Compel production of
12/18/2019   Adam H. Sencenbaugh       documents.                                      2.6    $725.00     $     1,885.00 C.6

                                       Review opposing counsel's request to the
                                       Court for a telephonic hearing regarding
                                       Motion to Compel, including strategies for
                                       handling the request; telephone conference
                                       with client regarding Motion to Compel; begin
                                       draft response to opposing counsel's email
                                       correspondence regarding Rule 29 Stipulation
                                       and device production in reference to Motion
1/3/2020     Henson Adams              to Compel.                                    1.4      $495.00     $      693.00 C.6


                                       Email correspondence with opposing counsel
                                       regarding case and production of missing hard
                                       drives sought in Motion to Compel; email
                                       correspondence with client representatives
                                       regarding case; telephone
                                       conference with client representatives
1/3/2020     Adam H. Sencenbaugh       regarding case status and Motion to Compel. 2          $725.00     $     1,450.00 C.6




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                                   Telephone call with opposing counsel to
                                   confer on motion for leave relevant to Motion
                                   to Compel; review offer proposed by opposing
                                   counsel
                                   to resolve discovery dispute in Motion to
                                   Compel; discuss settlement offer on Motion to
                                   Compel with client and revise according to the
1/21/2020   Henson Adams           same.                                          1.7   $495.00   $    841.50 C.6

                                   Email correspondence and telephone
                                   conference with opposing counsel regarding
                                   issues relevant to case and Motion to Compel;
                                   analyze offer from opposing counsel related to
1/21/2020   Adam H. Sencenbaugh    discovery dispute on Motion to Compel.         2.3   $725.00   $   1,667.50 C.6

                                   Telephone conference with opposing counsel
                                   regarding outstanding discovery due from
                                   Defendants and Motion to Compel; email
                                   correspondence with client representatives
2/3/2020    Adam H. Sencenbaugh    regarding case status and Motion to Compel.   1.5    $725.00   $   1,087.50 C.6

                                   Review Court order regarding hearing on
                                   Motion to Compel; discuss and strategize the
                                   same; correspondence with opposing counsel
                                   regarding conferencing over Motion to Compel
2/26/2020   Henson Adams           issues.                                       2      $495.00   $    990.00 C.6
                                   Email correspondence with opposing counsel
                                   regarding discovery issues relevant to Motion
2/27/2020   Adam H. Sencenbaugh    to Compel.                                    0.9    $725.00   $    652.50 C.6
                                   Create revised appendix to Motion to Compel
                                   in preparation for conference with opposing
3/2/2020    Henson Adams           counsel.                                      0.8    $495.00   $    396.00 C.6




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                                 Revise and transmit correspondence to
3/2/2020   Adam H. Sencenbaugh   opposing party relevant to Motion to Compel. 2.2   $725.00   $   1,595.00 C.6

                                 Prepare for and participate in conference with
3/3/2020   Adam H. Sencenbaugh   opposing party relevant to Motion to Compel. 1.6   $725.00   $ 1,160.00 C.6
                                                                      Subtotal 19             $ 12,418.00




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                          Motion to Compel: Preparing for and Attending Hearing on Motion to Compel
DATE       TIME KEEPER            DESCRIPTION                                TIME       RATE      FEE            ACTIVITY




                                  Create presentation for hearing on Motion
                                  to Compel, review briefing on motion
                                  including related case law, and prepare for
                                  hearing on motion to compel. [REDUCE BY
3/3/2020   Henson Adams           3.0 HOURS]                                    2.1   $495.00     $     1,039.50 C.7




                                  Continue to work on Power Point
                                  presentation for hearing on Motion to
                                  Compel, including review of prior
                                  communications and creation of a timeline;
                                  continue to review briefing on motion
                                  including related case law and prepare for
                                  hearing on Motion to Compel; review
                                  discovery; finalize demonstrative appendix.
3/4/2020   Henson Adams           [REDUCE BY 4.0 HOURS]                       3.1     $495.00     $     1,534.50 C.7


                                  Review and analyze federal rules and case
                                  law regarding the proper procedure for
                                  obtaining attorney's fees based on a Motion
3/4/2020   Chrissy Long           to Compel.                                  1.8     $495.00     $      891.00 C.7




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                                 Prepare materials for Motion to Compel
                                 hearing before United States Magistrate
                                 Judge; analyze discovery supplements
                                 provided by opposing
                                 party relevant to Motion to Compel and
3/4/2020   Adam H. Sencenbaugh   issues to be resolved in discovery dispute.   2.5    $725.00   $   1,812.50 C.7
                                 Prepare for and attend hearing on Motion
3/5/2020   Henson Adams          to Compel.                                    4.5    $495.00   $   2,227.50 C.7
                                 Prepare for and participate in hearing
                                 before United States Magistrate Judge on
3/5/2020   Adam H. Sencenbaugh   Motion to Compel.                             3.8    $725.00   $  2,755.00 C.7
                                                                    Subtotal   17.8             $ 10,260.00




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                           Motion to Compel: Responding to Emergency Motion to Amend Compel Order
DATE        TIME KEEPER           DESCRIPTION                                  TIME   RATE      FEE            ACTIVITY
                                  Revise response to Motion to Amend Court’s
                                  order on Motion to Compel and prepare
                                  motion to amend text order; prepare exhibits
3/24/2020   Henson Adams          to the same.                                 3.3    $495.00     $   1,633.50 C.8
                                  Analyze Emergency Motion to Modify
                                  Judgment on Motion to Compel filed by
                                  Defendants; draft Response to Emergency
                                  Motion to Modify
                                  Judgment on Motion to Compel filed by
3/24/2020   Adam H. Sencenbaugh   Defendants.                                  3.7    $725.00     $   2,682.50 C.8
                                  Review and analyze briefing filed by
                                  Defendants regarding a deferment of
                                  modification of Court's order and opposing
                                  counsel's withdrawal from the
                                  case; review email correspondence from
                                  opposing counsel and help prepare responses
                                  to the same; prepare new redacted versions
                                  of interrogatory responses. [REDUCE BY 2.5
3/25/2020   Henson Adams          HOURS]                                       1      $495.00     $    495.00 C.8
                                  Begin draft of Reply in Support of Motion to
                                  Modify/Amend Text Order relevant to
                                  Motion to Compel; email correspondence
                                  with client
                                  representatives regarding issues relevant to
3/30/2020   Adam H. Sencenbaugh   Motion to Compel.                            2.2    $725.00     $   1,595.00 C.8
                                  Complete draft of Reply in Support of Motion
                                  to Modify/Amend Text Order relevant to
                                  Motion to Compel; email correspondence
                                  with client
                                  representatives regarding issues relevant to
3/31/2020   Adam H. Sencenbaugh   Motion to Compel.                            1.8    $725.00     $   1,305.00 C.8


                                                            Exhibit A                                                     Page 20
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                                 Review and revise Reply in Support of Motion
                                 to Amend text order on Motion to Compel
4/1/2020   Henson Adams          and finalize the same for filing.             1.7   $495.00   $     841.50 C.8
                                 Revise and file Reply in Support of Motion to
                                 Amend Text Order regarding Motion to
4/1/2020   Adam H. Sencenbaugh   Compel.                                       1.2   $725.00   $     870.00 C.8

                                 Review Court's order granting BalanceCXI's
                                 Motion for an amended text order on Motion
                                 to Compel and strategize next steps and
4/6/2020   Henson Adams          upcoming tasks.                             1.5     $495.00   $      742.50 C.8
                                                                    Subtotal 16.4              $   10,165.00




                                                              Exhibit A                                            Page 21
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                            Motion for Sanctions: Preparing Advisories and Related Conference Efforts
DATE        TIME KEEPER              DESCRIPTION                                   TIME      RATE       FEE            ACTIVITY
                                     Analyze Court order regarding Motion to
                                     Compel and communicate with clients
                                     regarding order on Motion to Compel; email
                                     correspondence with opposing counsel
                                     regarding devices relevant to Motion to
3/13/2020   Adam H. Sencenbaugh      Compel.                                       1.4       $725.00    $     1,015.00 S.1
                                     Review declaration of Kerry O'Brien relevant
3/19/2020   Henson Adams             to Motion to Compel.                          0.4       $495.00    $      198.00 S.1
                                     Analyze documents produced by opposing
                                     counsel in response to Motion to Compel;
                                     email correspondence with opposing counsel
                                     regarding outstanding discovery relevant to
3/20/2020   Adam H. Sencenbaugh      Motion to Compel.                             1.5       $725.00    $     1,087.50 S.1
                                     Email correspondence with opposing counsel
                                     regarding discovery relevant to case; email
                                     correspondence with client representatives
                                     regarding issues relevant to Motion to
3/25/2020   Adam H. Sencenbaugh      Compel.                                       1.1       $725.00    $      797.50 S.1

                                      Review documents and discovery produced by
                                      Defendants; communication with opposing
3/27/2020   Henson Adams              counsel regarding the same.                   1.5      $495.00    $      742.50 S.1
                                      Email correspondence with opposing party
                                      regarding outstanding discovery issues;
                                      analyze revised interrogatory responses from
                                      Defendants
3/27/2020   Adam H. Sencenbaugh       served in response to Motion to Compel.       1.5      $725.00    $     1,087.50 S.1
                                      Review correspondence from opposing
                                      counsel and new interrogatory and request for
                                      production responses. [REDUCE BY 1.0
3/28/2020   Henson Adams              HOURS]                                        0.5      $495.00    $      247.50 S.1


                                                               Exhibit A                                                          Page 22
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                                  Coordinate document load and discuss
                                  metadata findings with the litigation support
                                  team; review and analyze documents
                                  produced by Defendants in response to
3/30/2020   Henson Adams          Motion to Compel.                                   1.7     $495.00   $     841.50 S.1

                                  Continue to review produced documents;
                                  review litigation support team spreadsheet
                                  regarding slip sheets in Defendants'
                                  production; review and revise Reply in Support
3/31/2020   Henson Adams          of Motion to Modify/Amend Text Order.          2.2          $495.00   $   1,089.00 S.1
                                  Review and analyze Discovery Advisory filed
                                  by Defendants regarding Motion to Compel;
                                  outline arguments for Initial Discovery
                                  Advisory regarding Motion to Compel on
4/3/2020    Henson Adams          behalf of BalanceCXI.                          1.6          $495.00   $     792.00 S.1


                                  Analyze Discovery Advisory regarding Motion
                                  to Compel filed by opposing party; revise and
                                  file response to Discovery Advisory regarding
4/3/2020    Adam H. Sencenbaugh   Motion to Compel filed by opposing party.           1.9     $725.00   $   1,377.50 S.1
                                  Team phone call with co-counsel to discuss
                                  discovery strategy. [NO
4/7/2020    Henson Adams          CHARGE]                                             [0.7]   N/A       No Charge    S.1
                                  Analyze issues relevant to discovery and
4/7/2020    Iris Gibson           disclosure of source code.                          0.5     $700.00   $     350.00 S.1
                                  Telephone conference with opposing counsel
                                  regarding case issues; begin draft of Plaintiff's
                                  Advisory to Court regarding discovery
                                  compliance by Defendants on Motion to
4/7/2020    Adam H. Sencenbaugh   Compel.                                             1.9     $725.00   $   1,377.50 S.1
                                  Continue to review documents produced by
4/8/2020    Henson Adams          Defendants.                                         2.5     $495.00   $   1,237.50 S.1


                                                              Exhibit A                                                    Page 23
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                                  Continue to review documents produced by
4/9/2020    Henson Adams          Defendants.                                       1.5   $495.00   $    742.50 S.1
                                  Continue draft of Plaintiff's Advisory to Court
                                  regarding Defendants' compliance with
4/9/2020    Adam H. Sencenbaugh   Motion to Compel.                                 3.6   $725.00   $   2,610.00 S.1

                                  Analyze documents produced by Defendants
                                  in response to Motion to Compel; continue
                                  draft of Plaintiff's Advisory to Court regarding
                                  Defendants' compliance with Court's order on
4/10/2020   Adam H. Sencenbaugh   Motion to Compel.                                3.3    $725.00   $   2,392.50 S.1

                                  Review revised scheduling order; continue to
4/13/2020   Henson Adams          review documents produced by Defendants. 3.7            $495.00   $   1,831.50 S.1
                                  Continue draft of Plaintiff's Advisory to Court
                                  regarding Defendants' compliance with Court's
4/13/2020   Adam H. Sencenbaugh   order on Motion to Compel.                      3.3     $725.00   $   2,392.50 S.1
                                  Telephone conference with forensic examiner
                                  to discuss forensic findings and review of
                                  discovery responses and Defendants'
                                  Discovery Advisory;
                                  continue to review documents and
                                  communications produced by Defendants in
                                  response to Motion to Compel. [REDUCED BY
                                  3.0
4/14/2020   Henson Adams          HOURS]                                          5.4     $495.00   $   2,673.00 S.1




                                                              Exhibit A                                                Page 24
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                                  Review and analyze forensic issues and
                                  underlying documents relevant to Motion to
                                  Compel; telephone conference with clients to
                                  discuss source code and other issues related
                                  to Plaintiff's Discovery Advisory on
                                  Defendants' compliance with Motion to
                                  Compel; discuss missing metadata issue with
                                  internal technical specialists and analysis of
                                  the same; continue to review documents for
                                  gathering and use as exhibits to Plaintiff's
                                  Advisory; telephone call with forensic
4/15/2020   Henson Adams          examiner. [REDUCED BY 3.0 HOURS]               6      $495.00   $   2,970.00 S.1

                                  Telephone conference with client
                                  representatives regarding forensic issues
                                  relevant to case; continue draft of Advisory to
                                  Court regarding Defendants' compliance with
4/15/2020   Adam H. Sencenbaugh   Court's Order on Motion to Compel.              3.4   $725.00   $   2,465.00 S.1

                                  Continue to draft and revise Plaintiff's
                                  Discovery Advisory on Defendants' compliance
                                  with Motion to Compel; draft and revise
                                  declaration of
                                  Timothy Barnes for use with Plaintiff's
                                  Advisory; telephone call with clients regarding
                                  the same; gather, review, and prepare exhibits
                                  to Plaintiff's Advisory; review Defendants'
                                  Advisory and discovery responses and
                                  continue to add content to Plaintiff's Advisory
4/16/2020   Henson Adams          related to the same.                            6     $495.00   $   2,970.00 S.1




                                                            Exhibit A                                                Page 25
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                                  Telephone conference with client
                                  representative regarding declaration in
                                  support of Plaintiff's Advisory on Defendants'
                                  compliance with Court's
                                  order on Motion to Compel; revise declaration
                                  in support of Plaintiff's Advisory on Motion to
                                  Compel; continue draft of Plaintiff's Advisory
                                  on
                                  Defendants' compliance with the Court's order
4/16/2020   Adam H. Sencenbaugh   on Motion to Compel.                             2.9   $725.00   $    2,102.50 S.1
                                  Draft, revise, and finalize Plaintiff's Advisory
                                  regarding Defendants' compliance with Court's
                                  order on Motion to Compel; gather and
                                  finalize
                                  exhibits related to the same; telephone call
                                  with forensic examiner to discuss forensic
                                  issues relevant to case; draft and revise
                                  Motion to Seal
                                  related to confidential exhibits attached to
                                  Plaintiff's Advisory and proposed order.
4/17/2020   Henson Adams          [REDUCED BY 3.0 HOURS]                           2.3   $495.00   $    1,138.50 S.1

                                  Telephone conference with forensic expert
                                  regarding issues relevant to missing devices
                                  ordered produced pursuant to Motion to
                                  Compel; revise and file Plaintiff's Advisory to
                                  Court regarding Defendants' compliance with
4/17/2020   Adam H. Sencenbaugh   Court's order on Motion to Compel.              3.8    $725.00   $    2,755.00 S.1
                                                                         Subtotal 65.4             $   39,283.50




                                                             Exhibit A                                                 Page 26
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                                  Motion for Sanctions: Preparing Motion for Sanctions
DATE        TIME KEEPER          DESCRIPTION                                   TIME      RATE      FEE            ACTIVITY


                                 Review and analyze Federal Rule of Civil
                                 Procedure 37(e) regarding spoliation of
                                 electronically stored information, 2015
                                 amendments, and case law interpreting same,
2/5/2020    Chrissy Long         and compile findings into spoliation memo.  3           $495.00   $     1,485.00 S.2


                                 Review and analyze federal case law regarding
                                 duty of preservation and the standard for
                                 reasonable steps at preservation and revise
2/6/2020    Chrissy Long         spoliation memo regarding same.               3.3       $495.00   $     1,633.50 S.2


                                 Review and analyze federal case law regarding
                                 culpability standards for spoliation and
                                 corresponding sanctions, and revise spoliation
                                 memo regarding same.[REDUCED BY
2/7/2020    Chrissy Long         3.0HOURS]                                      1.8      $495.00   $      891.00 S.2

                                 Review and analyze relevant law regarding a
                                 plaintiff's spoliation and revise spoliation
2/10/2020   Chrissy Long         memo regarding same.                           1.8      $495.00   $      891.00 S.2

                                 Review and analyze case law regarding
                                 culpability standards for spoliation and
                                 available remedies, and revise spoliation memo
2/11/2020   Chrissy Long         regarding same.                                5.3      $495.00   $     2,623.50 S.2




                                                           Exhibit A                                                         Page 27
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                                  Review Court's order that BalanceCXI file a
                                  Motion for Sanctions for Defendants' failure to
                                  comply with Court's order on Motion to
                                  Compel;
                                  analyze federal law regarding Rule 37(b)
                                  sanctions for failure to comply with a court's
4/20/2020   Henson Adams          discovery order.                                2.6   $495.00   $   1,287.00 S.2

                                  Analyze Order from United States District Court
                                  regarding Plaintiff's Advisory on Defendants'
                                  compliance with Court's order on Motion to
                                  Compel; outline issues relevant to Motion for
4/20/2020   Adam H. Sencenbaugh   Sanctions.                                      1.7   $725.00   $   1,232.50 S.2
                                  Research federal law regarding Rule 37(b)
4/21/2020   Henson Adams          sanctions.                                      2     $495.00   $    990.00 S.2

                                  Conference with co-counsel regarding Motion
                                  for Sanctions under Federal Rule 37(b); outline
                                  arguments for Motion for Rule 37(b) Discovery
                                  Sanctions; research and provide summary of
                                  discovery sanctions available under Federal
4/21/2020   Iris Gibson           Rule 37(b).                                     6.4   $700.00   $   4,480.00 S.2

                                  Analyze issues relevant to Motion for Discovery
                                  Sanctions against Defendants; revise Motion
4/21/2020   Adam H. Sencenbaugh   for Discovery Sanctions against Defendants.     2.8   $725.00   $   2,030.00 S.2




                                                            Exhibit A                                                Page 28
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                                  Telephone call with co-counsel to discuss the
                                  Motion for Rule 37(b) Discovery Sanctions;
                                  research federal law related to Rule 37(b)
                                  discovery sanctions; telephone call with client
                                  regarding Motion for Rule 37(b) Discovery
                                  Sanctions; draft, revise, and finalize Motion for
                                  Rule 37(b) Discovery Sanctions. [REDUCED BY
4/22/2020   Henson Adams          4.0 HOURS]                                        5.2   $495.00   $   2,574.00 S.2

                                  Conference with co-counsel regarding Motion
                                  for Rule 37(b) Discovery Sanctions; research
                                  standard for adverse instructions for spoliation
                                  as discovery sanction; revise draft of Motion
                                  for Rule 37(b) Discovery Sanctions. [REDUCED
4/22/2020   Iris Gibson           BY 1.5 HOURS]                                    2.6    $700.00   $   1,820.00 S.2

                                  Revise and file Motion for Rule 37(b) Discovery
                                  Sanctions against Defendants; email
                                  correspondence and telephone conference
                                  with client representatives regarding Motion
4/22/2020   Adam H. Sencenbaugh   for Rule 37(b) Discovery Sanctions.             6.5     $725.00   $ 4,712.50 S.2
                                                                        Subtotal 45                 $ 26,650.00




                                                             Exhibit A                                                 Page 29
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                          Motion for Sanctions: Conference and Other Efforts Related to Motion for Sanctions
DATE       TIME KEEPER             DESCRIPTION                                      TIME       RATE          FEE            ACTIVITY

                                    Telephone call with new opposing counsel in
                                    case; discuss next steps regarding case strategy.
4/7/2020   Henson Adams             [NO CHARGE]                                       [0.7]    N/A           No Charge      S.3




                                    Email correspondence and telephone conference
                                    with opposing party regarding issues relevant to
4/23/2020 Adam H. Sencenbaugh       Motion for Rule 37(b) Discovery Sanctions.       1.3       $725.00       $      942.50 S.3




                                    Analyze issues relevant to Motion for Rule 37(b)
                                    Discovery Sanctions reply brief; email
                                    correspondence with opposing party regarding
                                    discovery offer and response to Motion for Rule
4/24/2020 Adam H. Sencenbaugh       37(b) Discovey Sanctions.                        1.9       $725.00       $     1,377.50 S.3


                                    Review documents produced by Defendants for
                                    missing metadata; discuss the same and
                                    correspondence with opposing counsel regarding
4/25/2020 Henson Adams              missing metadata.                              1.3         $495.00       $      643.50 S.3




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                                Analyze documents for production in case; email
                                correspondence with opposing party regarding
                                Motion for Rule 37(b) Discovery Sanctions and
4/27/2020 Adam H. Sencenbaugh   issues relevant to Motion to Compel.            2.3     $725.00   $   1,667.50 S.3
                                Telephone call with co-counsel to discuss
                                response to opposing counsel's correspondence.
4/28/2020 Henson Adams          [NO CHARGE]                                     [0.3]   N/A       No Charge  S.3
                                                                       Subtotal 6.8               $ 4,631.00




                                                              Exhibit A                                              Page 31
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                                  Motion for Sanctions: Replying to Response to Motion for Sanctions
DATE        TIME KEEPER               DESCRIPTION                                    TIME        RATE     FEE            ACTIVITY

                                      Review and analyze Defendants' Response to
                                      BalanceCXI Motion for Rule 37(b) Sanctions and
                                      exhibits to the same; review case law related to
4/29/2020   Henson Adams              issues raised in Response.                       3.4      $495.00   $     1,683.00 S.4
                                      Review Response to Motion for Sanctions and
                                      attachments thereto; begin outline of
4/29/2020   Iris Gibson               arguments for Reply. [NO CHARGE]                 [0.8]    N/A       No Charge      S.4
                                      Analyze Response in Opposition to Motion for
                                      Sanctions under Rule 37(b); begin draft of Reply
                                      in Support of Motion for Rule 37(b) Discovery
4/29/2020   Adam H. Sencenbaugh       Sanctions.                                       3.8      $725.00   $     2,755.00 S.4

                                      Review draft discovery requests; telephone call
                                      with clients to discuss the same and the reply to
                                      Defendants' Response to BalanceCXI's Motion
                                      for
                                      Rule 37(b) Discovery Sanctions; review
                                      Defendants' Response and outline arguments
                                      for reply in support of BalanceCXI's Motion for
                                      Rule 37(b) Discovery Sanctions. [REDUCED BY
4/30/2020   Henson Adams              3.5 HOURS]                                        3.8     $495.00   $     1,881.00 S.4
                                      Telephone conference with client
                                      representatives regarding Motion for Rule 37(b)
                                      Discovery Sanctions; continue revisions to Reply
                                      in Support of Motion for Rule 37(b) Discovery
4/30/2020   Adam H. Sencenbaugh       Sanctions.                                        2.6     $725.00   $     1,885.00 S.4




                                                                  Exhibit A                                                     Page 32
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                                 Continue to review and analyze Defendants'
                                 Response to Motion for Rule 37 Sanctions for
                                 failure to follow Court's order on Motion to
                                 Compel; draft and revise Reply to the same;
                                 review related evidence for use in Reply in
                                 support of Motion for Sanctions.
5/1/2020   Henson Adams                                                           4.6     $495.00   $2,277.00     S.4
                                 Revise Reply in Support of Motion for Rule 37
5/1/2020   Adam H. Sencenbaugh   Sanctions related to Motion to Compel            2.4     $725.00   $    1,740.00 S.4
                                 Discuss Reply in Support of Motion for Sanctions
5/2/2020   Henson Adams          with co-counsel                                  [0.5]   N/A       No Charge     S.4

                                 Begin draft of Reply in Support of Motion for
                                 Rule 37 Sanctions for Defendants' failure to
                                 follow Court's order on Motion to Compel;
5/3/2020   Henson Adams          review and gather evidence related to the same. 2        $495.00   $      990.00 S.4

                                 Revise Reply in Support of Motion for Rule 37
                                 Sanctions for Defendants' failure to follow
                                 Court's order on Motion to Compel; continue to
                                 review and analyze documents and other
5/4/2020   Henson Adams          evidence related to the same.                  4.5       $495.00   $    2,227.50 S.4
                                 Review draft Reply to Response to Motion for
                                 Rule 37 Sanctions and provide comments to
5/4/2020   Iris Gibson           same.                                          [0.3]     N/A       No Charge     S.4

                                 Revise Reply in Support of Rule 37 Sanctions
                                 related to Defendants' failure to follow Court's
                                 ruling on Motion to Compel; analyze evidence in
5/4/2020   Adam H. Sencenbaugh   support of request for Rule 37 Sanctions.        4.2     $725.00   $    3,045.00 S.4




                                                            Exhibit A                                                   Page 33
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                                 Revise Reply in Support of Rule 37 Sanctions
                                 related to Defendants' failure to follow Court's
                                 ruling on Motion to Compel and exhibits to the
5/5/2020   Henson Adams          same. [REDUCED BY 2.0 HOURS]                     1.6      $495.00   $     792.00 S.4
                                 Discuss case strategy and response to opposing
5/5/2020   Henson Adams          counsel with co-counsel.                         [0.8]    N/A       No Charge     S.4

                                 Revise and file Reply in Support of Rule 37
                                 Sanctions related to Defendants' failure to
                                 follow Court's ruling on Motion to Compel;
                                 email correspondence with opposing counsel
5/5/2020   Adam H. Sencenbaugh   regarding discovery issues relevant to case.       3.8    $725.00   $    2,755.00 S.4
                                                                         Subtotal   36.7             $   22,030.50




                                                             Exhibit A                                                   Page 34
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                     Motion for Sanctions: Preparing for and Attending Evidentiary Hearing on Motion for Sanctions
DATE        TIME KEEPER                 DESCRIPTION                                      TIME    RATE         FEE             ACTIVITY
                                        Review issues relevant to attorney-client
                                        privilege in context of claims of spoliation and
                                        summarize potential waiver arguments relating
5/18/2020   Iris Gibson                 to privilege.                                    0.7     $700.00       $      490.00 S.5

                                        Conference regarding Order setting hearing on
                                        Motion for Sanctions and discuss strategy
                                        regarding depositions and preparation for
                                        hearing; review burden of proof for sanctions
                                        under Rule 37 and prepare summary of
5/18/2020   Iris Gibson                 elements based on different relief sought.    1.1        $700.00      $       770.00 S.5

                                        Continue to review documents produced by
                                        Defendants; preparation and research for
                                        virtual depositions and hearings; draft and
                                        revise notices of depositions for Defendant
5/20/2020   Henson Adams                Adam Oldfield and Defendant Chris DeSimone. 5.3          $495.00      $      2,623.50 S.5


                                        Continue to review document productions and
                                        gather evidence for depositions and hearings;
                                        telephone call with forensic examiner to
                                        discuss collection of imaged devices files;
                                        telephone call with client and witness to
                                        discuss potential testimony at June 3 hearing;
5/21/2020   Henson Adams                begin creating hearing demonstratives.         4.1       $495.00      $      2,029.50 S.5




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                                  Continue to review produced documents and
                                  use the same to create deposition and hearing
                                  exhibits; review letter from opposing counsel
                                  regarding document production and metadata;
                                  telephone conference with opposing counsel
                                  regarding document production, deposition
                                  logistics, and hearing logistics; revise and
                                  finalize deposition notices for Defendant Adam
5/22/2020   Henson Adams          Oldfield and Defendant Chris DeSimone.         6.5    $495.00   $   3,217.50 S.5
                                  Continue to gather exhibits and evidence with
                                  respect to depositions and hearing. [REDUCED
5/24/2020   Henson Adams          BY 2.0 HOURS]                                  4.8    $495.00   $   2,376.00 S.5

                                  Continue to review and analyze documents in
                                  preparation for hearing and deposition of
5/25/2020   Henson Adams          Defendants. [REDUCED BY 3.0 HOURS]             5.8    $495.00   $   2,871.00 S.5


                                  Continue to review evidence and prepare
                                  exhibits for depositions and hearing;
                                  coordinate virtual depositions with Veritext;
                                  telephone calls with clients to discuss
                                  depositions and email received from Mr.
                                  Alvandi and production of declarations by
                                  Defendants; telephone call with forensic expert
5/27/2020   Henson Adams          to discuss hearing and prepare for the same.    7.8   $495.00   $   3,861.00 S.5

                                  Prepare for and attend deposition of
                                  Defendant Adam Oldfield; strategize and begin
                                  preparation for Defendant Christopher
                                  DeSimone's deposition and direct examination
5/28/2020   Henson Adams          of Roy Rector. [REDUCED BY 9.0 HOURS].        3.4     $495.00   $   1,683.00 S.5


                                                           Exhibit A                                                 Page 36
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                                  Research no-contact ethics rule under
                                  American Bar Association Model Rule and
                                  Texas Disciplinary Rule; consider what
                                  BalanceCXI employees are covered under no-
                                  contact rules; determine appropriate remedies
                                  for violation of no-contact rule; prepare
                                  summary of research for use in upcoming
5/28/2020   Iris Gibson           hearing.                                      4.2     $700.00   $   2,940.00 S.5

                                  Continue to review exhibits and prepare
                                  deposition outline for Defendant Chris
                                  DeSimone; review documents related to Mr.
                                  DeSimone; prepare for hearing; draft letter
                                  related to metadata and issue regarding
                                  Defendants contacting current BalanceCXI
                                  employees. [REDUCED BY 3.0 HOURS]
5/30/2020   Henson Adams                                                          9.7   $495.00   $   4,801.50 S.5

                                  Review deposition transcript of Defendant
                                  Adam Oldfield; designate, categorize, and
                                  summarize potential impeachment testimony
                                  for use in hearing.
5/30/2020   Iris Gibson                                                           2.2   $700.00   $   1,540.00 S.5

                                  Continue to prepare outline and exhibits for
                                  deposition of Chris DeSimone and documents
                                  related to the same; work on hearing
                                  presentation; work on direct of Roy Rector;
                                  review deposition designations and deposition
                                  transcript of Defendant Adam Oldfield;
                                  continue to prepare for hearing. [REDUCED BY
                                  3.0 HOURS]
5/31/2020   Henson Adams                                                          9.5   $495.00   $   4,702.50 S.5




                                                          Exhibit A                                                  Page 37
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                                  Continue review of deposition transcript of
                                  Defendant Adam Oldfield and exhibits thereto;
                                  designate, categorize, and summarize potential
                                  impeachment testimony; prepare chart of
                                  designations for use in hearing in case.
5/31/2020   Iris Gibson                                                            4.5   $700.00   $   3,150.00 S.5
                                  Review federal cases regarding spoliation for
                                  use in hearing under Federal Rule of Civil
                                  Procedure 37.
5/31/2020   Chrissy Long                                                           0.9   $495.00   $    445.50 S.5

                                  Prepare for deposition of Defendant Chris
                                  DeSimone, includingpreparation of outline and
                                  deposition exhibits; prepare materials for
                                  hearing on Motion for Discovery Sanctions for
                                  Defendants' failure to follow ruling on Motion
5/31/2020   Adam H. Sencenbaugh   to Compel.                                     4.8     $725.00   $   3,480.00 S.5

                                  Prepare for and attend the deposition of
                                  Defendant Christopher DeSimone; continue to
                                  prepare for hearing on Motion for Discovery
                                  Sanctions for
                                  Defendants' failure to follow ruling on Motion
                                  to Compel, including gathering and designating
                                  exhibits and creating demonstratives; prepare
                                  direct examination of Plaintiff expert witness
6/1/2020    Henson Adams          Roy Rector. [REDUCED BY 9.0 HOURS]             5.3     $495.00   $   2,623.50 S.5




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                                      Continue preparing exhibits and deposition
                                      designations for cross
                                      examination of Defendant Adam Oldfield;
                                      review and revise Defendant Adam Oldfield
                                      cross examination; prepare talking points for
                                      hearing relating to Motion for Discovery
                                      Sanctions for Defendants' failure to follow
                                      ruling on Motion to Compel; review and
                                      incorporate arguments
                                      relating to death penalty sanctions under Rule
6/1/2020   Iris Gibson                37 (b)(2) and (e). [REDUCED BY 2.0 HOURS]      6.3      $700.00   $   4,410.00 S.5


                                      Continue to prepare for hearing on Motion for
                                      Discovery Sanctions for Defendants' failure to
                                      follow ruling on Motion to Compel; witness
                                      preparation session with expert witness Roy
                                      Rector; review and analyze depositions of
                                      Defendant Adam Oldfield and Defendant Chris
                                      DeSimone and video clips of Defendant Adam
                                      Oldfield's deposition; review and prepare direct
                                      examination of expert witness; review legal
                                      issues related to hearing; prepare PowerPoint
                                      demonstrative for hearing. [REDUCED BY 5.0
6/2/2020   Henson Adams               HOURS]                                           12.5   $495.00   $   6,187.50 S.5

                                      Create video deposition database for hearing;
                                      create excerpts of video depositions to include
                                      in Motion for Discovery Sanctions for
                                      Defendants' failure to follow ruling on Motion
6/2/2020   Michael Brockwell          to Compel; graphic design of presentation.      5.5     $350.00   $   1,925.00 S.5




                                                               Exhibit A                                                   Page 39
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                                 Prepare presentation slides for legal arguments
                                 in Motion for Discovery Sanctions for
                                 Defendants' failure to follow ruling on Motion
                                 to Compel;
                                 prepare talking points for hearing on Motion
                                 for Discovery Sanctions for Defendants' failure
                                 to follow ruling on Motion to Compel relating
                                 to legal
                                 arguments and the admissibility of current
                                 employees statements obtained in breach of
                                 the no-contact ethical rules; review and edit
                                 DeSimone cross examination deposition
                                 excerpts; research and draft arguments
                                 regarding the application of the Federal Rules
                                 of Evidence to sanctions hearings;
                                 review and prepare legal arguments for
                                 spoliation sanctions under Rule 37(e).
6/2/2020   Iris Gibson           [REDUCED BY 4.0 HOURS].                         8.4     $700.00   $   5,880.00 S.5

                                 Draft talking points for evidentiary hearing
                                 regarding Defendants' failure to comply with
                                 Federal Rule of Civil Procedure 31 in obtaining
                                 Stephen Reed's and Trevor Barton's
6/2/2020   Chrissy Long          declarations. [NO CHARGE]                       [0.9]   N/A       No Charge    S.5




                                                          Exhibit A                                                   Page 40
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                                 Analyze legal issues relevant to hearing on
                                 Motion for Discovery Sanctions for Defendants'
                                 failure to follow ruling on Motion to Compel;
                                 prepare exhibits and opening statement for use
                                 in Motion for Discovery Sanctions for
                                 Defendants' failure to follow ruling on Motion
                                 to Compel;
                                 revise cross examination outlines for use in
                                 Motion for Discovery Sanctions for Defendants'
6/2/2020   Adam H. Sencenbaugh   failure to follow ruling on Motion to Compel. 11.2      $725.00   $   8,120.00 S.5

                                 Prepare for and attend evidentiary hearing on
                                 BalanceCXI's Motion for Discovery Sanctions
                                 for Defendants' failure to follow ruling on
                                 Motion to
                                 Compel; telephone calls with client related to
6/3/2020   Henson Adams          the same. [REDUCED BY 3.0 HOURS]                 10.3   $495.00   $   5,098.50 S.5
                                 Prepare talking points for waiver of attorney-
                                 client privilege; research and summarize
6/3/2020   Iris Gibson           relevant privilege issues.                       1.2    $700.00   $    840.00 S.5

                                 Prepare for and participate in hearing on
                                 Motion for Discovery Sanctions for Defendants'
6/3/2020   Adam H. Sencenbaugh   failure to follow ruling on Motion to Compel. 11.8      $725.00   $   8,555.00 S.5


                                 Continue to prepare for and attend second day
                                 of evidentiary hearing on BalanceCXI's Motion
                                 for Discovery Sanctions for Defendants' failure
                                 to follow ruling on Motion to Compel;
6/4/2020   Henson Adams          telephone calls with client related to the same. 11     $495.00   $   5,445.00 S.5




                                                          Exhibit A                                                   Page 41
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                                 Prepare for and participate in hearing on
                                 Motion for Discovery Sanctions for Defendants'
6/4/2020   Adam H. Sencenbaugh   failure to follow ruling on Motion to Compel. 10.7      $725.00   $    7,757.50 S.5
                                                                        Subtotal 169.5             $   97,823.00




                                                          Exhibit A                                                    Page 42
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                                     Forensic Work: Forensic Related Attorney Work
DATE       TIME KEEPER           DESCRIPTION                                  TIME     RATE      FEE          ACTIVITY


                                 Telephone conference with client
                                 representatives regarding case status and
                                 Motion to Compel; telephone conference with
                                 forensic examiner regarding missing devices
                                 relevant to Motion to Compel; prepare outline
                                 for hearing before United States Magistrate
                                 Judge in case on issues relevant to Motion to
                                 Compel; analyze documents provided by
                                 forensic examiner relevant to hard drives
1/8/2020   Adam H. Sencenbaugh   sought in Motion to Compel.                   3.7     $725.00   $ 2,682.50 F.1

                                 Review and analyze forensic report regarding
                                 the list of devices connected to the Lexar and
                                 Western Digital devices sought in Motion to
                                 Compel; review list of files recovered from the
                                 Lexar and Western Digital devices sought in
                                 Motion to Compel; discuss the same with
                                 client; prepare for and attend telephonic
                                 hearing before the Court. [REDUCED BY 3.0
1/9/2020   Henson Adams          HOURS]                                          1.7   $495.00   $     841.50 F.1

                                 Prepare for and participate in status
                                 conference with United States Magistrate
                                 Judge regarding case and Motion to Compel;
                                 telephone conference with client
                                 representative regarding case and Motion to
                                 Compel; analyze reports provided by forensic
1/9/2020   Adam H. Sencenbaugh   examiner relevant to Motion to Compel.         2.9    $725.00   $ 2,102.50 F.1




                                                             Exhibit A                                                   Page 43
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                                  Telephone call with witness regarding forensic
2/11/2020   Henson Adams          analysis of electronic devices.                1       $495.00   $   495.00 F.1

                                  Analyze issues relevant to expert witness for
                                  use in case; telephone conference with expert
2/11/2020   Adam H. Sencenbaugh   witness to discuss issues relevant to case.     2.3    $725.00   $ 1,667.50 F.1
                                                                         Subtotal 11.6             $ 7,789.00




                                                              Exhibit A                                             Page 44
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                                             Forensic Costs: R3 Digital Forensics Invoices
DATE         ACTIVITY                                                                                 QTY   RATE          AMOUNT
06/07/2019   Forensic Image Archiving
             Fee for forensic file storage media.                                               1           $      250.00 $     250.00
06/07/2019   Services-250
             Adam computer: Intake, forensic imaging and documentation - Tyler B.
             Rector                                                                             0.8         $      250.00 $     200.00
06/07/2019   Services-325
             Conference call, Adam computer: initial data assessment - Roy D. Rector
                                                                                                0.5         $      325.00 $     162.50
06/12/2019   Services-325
             Adam Laptop: 06/10-12/19 Forensic analysis, report and exhibit drafting -
             Roy D. Rector                                                                      7.2         $      325.00 $   2,340.00
06/13/2019   Services-325
             Adam Laptop: Report and exhibit drafting, review & finalization - Roy D.
             Rector                                                                             1.8         $      325.00 $     585.00
06/17/2019   Services-325
             Chris Laptop: 06/13-17/19 Forensic analysis, report and exhibit drafting -
             Roy D. Rector                                                                      4.9         $      325.00 $   1,592.50
06/18/2019   Services-325
             Chris Laptop: report and exhibit drafting, review & finalization - Roy D.
             Rector                                                                             1           $      325.00 $     325.00
09/03/2019   Services-325
             Case review and conference call. - Roy D. Rector                                   1           $      325.00 $     325.00
09/25/2019   Services-325
             Conference call with Henson Adams - Roy D. Rector                                  0.4         $      325.00 $     130.00
09/26/2019   Services-325
             Henson Adams led group conference call - Roy D. Rector                             0.9         $      325.00 $     292.50
12/21/2019   Services-275
             Intake, imaging and documentation - Tyler B. Rector                                1.1         $      275.00 $     302.50
01/08/2020   Services-275
             USB devices, active file identification and file list creation - Tyler B. Rector
                                                                                                1.3         $      275.00 $     357.50


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01/08/2020   Services-325
             1/08-13/2020: Conference call, USB forensic examinations, computer
             connections report, attention to email to Heston - Roy D. Rector
                                                                                          6.8   $   325.00 $   2,210.00
02/11/2020   Services-325
             Conference call with Heston & Adam - Roy D. Rector                           1.1   $   325.00 $     357.50
02/24/2020   Services-325
             2/24-27/2020: Laptop and USB devices - forensic examination, report and
             exhibits drafting - Roy D. Rector                                            9.4   $   325.00 $   3,055.00
03/03/2020   Services-325
             2/29-3/3: Analysis, report and exhibit drafting
             - Roy D. Rector                                                              9     $   325.00 $   2,925.00
03/04/2020   Services-325
             Conference call with Heston and Adam - Roy
             D. Rector                                                                    1.4   $   325.00 $     455.00
03/11/2020   Services-325
             Conference & TeamViewer session with Heston and Adam - Roy D. Rector
                                                                                          1.6   $   325.00 $     520.00
04/14/2020   Services-325
             Defendant response documents review, conference call with Henson and
             Adam. - Roy
             D. Rector                                                                    2.5   $   325.00 $     812.50
04/17/2020   Services-325
             WebEx conference with Henson and Adam - Roy D. Rector                        1.2   $   325.00 $     390.00
05/18/2020   Services-325
             Conference with Henson - Roy D. Rector                                       0.2   $   325.00 $      65.00
05/20/2020   Services-325
             Conference with Henson regarding files to export - Roy D. Rector             0.2   $   325.00 $      65.00
05/21/2020   Services-325
             Data export, FTP upload config - Henson request - Roy D. Rector              0.6   $   325.00 $     195.00
05/27/2020   Services-325
             Conference call with Henson - discussion regarding hearing - Roy D. Rector
                                                                                          0.7   $   325.00 $     227.50




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             Services-325
6/1/2020     Oilfield deposition review - Roy D. Rector                                  1     $   325.00 $     325.00
             Services-325
             Conference call with Adam and Henson, courtroom testimony review - Roy
6/2/2020     D. Rector                                                                   4.5   $   325.00 $    1,462.50
             Services-325
6/3/2020     Conference call with Henson - Roy D. Rector                                 0.6   $   325.00 $     195.00
             Services-325
6/3/2020     Hearing prep and hearing - Roy D. Rector                                    5.5   $   325.00 $    1,787.50
             Services-325
6/3/2020     Zoom Court - Roy D. Rector                                                  4.7   $   325.00 $    1,527.50
             Services-275
             File identification and deletion from defendant's devices (Requested by
             Hanson)
12/02/2020   - Tyler B. Rector                                                           1     $   275.00 $      275.00
             Services-325
             Addtional files for deletion from defendant's devices (Requested by
12/04/2020   Hanson). Device free space wiping. - Roy D. Rector                          0.3   $   325.00 $       97.50
                                                                              Subtotal   74               $   23,810.00




                                                               Exhibit A                                                  Page 47
